Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 1 of 46 PageID #:986
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 2 of 46 PageID #:987
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 3 of 46 PageID #:988
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 4 of 46 PageID #:989
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 5 of 46 PageID #:990
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 6 of 46 PageID #:991
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 7 of 46 PageID #:992
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 8 of 46 PageID #:993
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 9 of 46 PageID #:994
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 10 of 46 PageID #:995
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 11 of 46 PageID #:996
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 12 of 46 PageID #:997
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 13 of 46 PageID #:998
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 14 of 46 PageID #:999
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 15 of 46 PageID #:1000
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 16 of 46 PageID #:1001
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 17 of 46 PageID #:1002
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 18 of 46 PageID #:1003
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 19 of 46 PageID #:1004
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 20 of 46 PageID #:1005
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 21 of 46 PageID #:1006
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 22 of 46 PageID #:1007
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 23 of 46 PageID #:1008
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 24 of 46 PageID #:1009
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 25 of 46 PageID #:1010
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 26 of 46 PageID #:1011
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 27 of 46 PageID #:1012
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 28 of 46 PageID #:1013
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 29 of 46 PageID #:1014
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 30 of 46 PageID #:1015
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 31 of 46 PageID #:1016
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 32 of 46 PageID #:1017
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 33 of 46 PageID #:1018
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 34 of 46 PageID #:1019
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 35 of 46 PageID #:1020
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 36 of 46 PageID #:1021
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 37 of 46 PageID #:1022
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 38 of 46 PageID #:1023
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 39 of 46 PageID #:1024
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 40 of 46 PageID #:1025
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 41 of 46 PageID #:1026
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 42 of 46 PageID #:1027
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 43 of 46 PageID #:1028
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 44 of 46 PageID #:1029
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 45 of 46 PageID #:1030
Case: 1:01-cr-00852 Document #: 266 Filed: 04/03/03 Page 46 of 46 PageID #:1031
